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—. NOT SEALED

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 18-CR-20685-WILLIAMS

 

 

 

 

 

 

| Per Local Rule 5.4(d), the matter(s)
UNITED STATES OF AMERICA ; Shall remain sealed.
ferme VEATS nro (SPECIFIC date);
V. eee, PELMaENtly; WL (other).
FRANCISCO CONVIT GURUCEAGA, et al., Filed Ex Parte and UNDER SEAL
Defendants.

 

 

SECOND PROTECTIVE ORDER FOR ASSET SUBJECT TO FORFEITURE

THIS CAUSE is before the Court upon application of the United States of America (the -
“United States’) for entry of a second post-Indictment protective order restraining and enjoining a
certain asset subject to forfeiture in order to preserve its availability for criminal forfeiture,
pursuant to 21 U.S.C. § 853(e). Being fully advised in the premises and based on the United
States’ Ex Parte Application for Second Post-Indictment Protective Order Pursuant to 21 U.S.C.
§ 853(e), and Memorandum of Law in Support Thereof, including the agent’s declaration, and for
good cause shown thereby, the Court finds as follows:

1. On August 16, 2018, a federal grand jury in the Southern District of Florida
returned an Indictment charging Francisco Convit Guruceaga, Jose Vincente Amparan Croquer,
a.k.a, “Chente,’ Carmelo Antonio Urdaneta Aqui, Abraham Edgardo Ortega, Gustavo Adolfo
Hernandez Frieri, Hugo Andre Ramalho Gois, Marcelo Federico Gutierrez Acosta Y Lara, and
Mario Enrique Bonilla Vallera (the “Defendants”) with conspiracy to commit money laundering,
substantive counts of money laundering, and substantive counts of interstate and foreign travel in
aid of racketeering. Indictment, ECF No. 19. The Indictment also contained forfeiture

allegations, which alleged that upon a conviction of a violation of 18 U.S.C. § 1956, as alleged in
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the Indictment, the Defendants shall each forfeit to the United States any property, real or personal,
involved in such offense, and any property traceable to such property, pursuant to 18 U.S.C. §
982(a)(1). Id at5. The Indictment also alleged that upon a conviction ofa violation of 18 U.S.C.
§ 1952, as alleged in the Indictment, the Defendants shall each forfeit to the United States any
property, real or personal, which constitutes or is derived from proceeds traceable to the offense,
pursuant to 18 U.S.C. § 981(a)(1)(C). Jd. at 5-6. The Indictment alleged that several assets were
subject to forfeiture. Jd. at 6-7. On August 22, 2018, the Court issued a Protective Order for
Assets Subject to Forfeiture, which was amended in the Amended Protective Order for Assets
Subject to Forfeiture (“Amended Protective Order”). See Protective Order, ECF No. 32; Am.
Protective Order, ECF No. 60. The Amended Protective Order enjoined and restrained assets
listed in the forfeiture allegations and certain additional assets.

2. Based on the agent’s declaration submitted in support of the United States’ Ex Parte
Application for Second Post-Indictment Protective Order Pursuant to 21 U.S.C. § 853(e), there is
probable cause to find that the following property is subject to forfeiture pursuant to 18 U.S.C. §
982(a)(1): the M/Y Blue Ice, which is more fully described as a 1999 135-foot Baglietto yacht,
official number 40146 registered in St. Vincent and the Grenadines.

3. Pursuant to 21 U.S.C. § 853(e)(1)(A), upon filing of the Indictment, the Court is
authorized to enter a restraining order, injunction, or take any other action to preserve the
availability of property subject to criminal forfeiture.

4, Pursuant to 21 U.S.C. § 853(e)(4)(A), the Court is authorized to order any of the
Defendants to repatriate any property that may be seized and forfeited, and to direct that such

property be deposited, pending trial, with the U.S. Secretary of the Treasury.
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Based on the foregoing, the United States’ Ex Parte Application for Second Post-
Indictment Protective Order Pursuant to 21 U.S.C. § 853(e) is GRANTED, and it is hereby,

ORDERED that:

1. The following property is ENJOINED AND RESTRAINED in order to preserve
its availability for criminal forfeiture: the M/Y Blue Ice, which is more fully described as a 1999
135-foot Baglietto yacht, official number 40146 registered in St. Vincent and the Grenadines
(hereafter, the “Subject Vessel”).

2. The Defendants, including their respective agents, representatives, servants,
employees, attorneys, family members, those persons in active concert or participation with the
Defendants, or other persons or entities holding or with custody of the Subject Vessel, are
ENJOINED AND RESTRAINED from selling, transferring, assigning, pledging, distributing,
giving away, encumbering, or otherwise participating in the dissipation, disposal (by transfer of
stock or otherwise), or removal from the jurisdiction of this Court the Subject Vessel, or any assets
traceable thereto, without prior approval of the Court and upon notice to the United States and an
opportunity to be heard.

3. The United States is AUTHORIZED AND DIRECTED to serve a copy of this
Order on any individual or entity that the United States believes may be in control or possession
of the Subject Vessel.

4, This Order shall remain in full force and effect until further order of this Court.

SO ORDERED this aay of { eos —— _2019 in Chambers at Miami, Florida.
>——_~

 

KATHLEEN M. WILLIAMS .
UNITEDJSTATES DISTRICT JUDGE
ce: Nicole Grosnoff and Nalina Sombuntham, Assistant Y.S. Attorneys (2 certified copies)
